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        WHEREFORE, Morgan Marine respectfully requests that the Court enter a Final Judgment

in its favor for damages against AAC for AAC’s negligent misrepresentations in a principal

amount greater than $75,000, pre and post judgment interests, costs and such other and further

relief as the Court deems just and proper.

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